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                             UNITED STATES DISTRICT COURT
                                        FOR THE
                                 DISTRICT OF COLUMBIA
U.S.A. vs. RADER, Kenneth                                                   _ Docket No.: 1 :22CR00057-001


                 The Court may enter a minute order for any of the following options:

WaiTant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will eater a sealed minute order and process the
warrant for service without alerting the public or the offender. After the wan:anl is executed, the Deputy Clerk will
uns.eal the wanant unless otherwise directed by the Court.

THE COURT ORDERS:

1. j2t Concurs with the recommendation of the Probation Office to "modify the condition as
noted below:

 Mental Health Treatment - The defendant must participate in a mental health evaluation. The
defendant must complete any recommended treatment program and follow the rules and
regulations of the treatment program. The defendant must take all medication prescribed to the
defendant by a licensed medical provider."

2. D No action

3. D Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4. D Issuance of a summons and schedule a hearing

5.   □   Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
         judge for the preparation of a report and recommendation to the district judge. This
         designation will remain for the duration of the case, and the designated magistrate judge
         will respond to all subsequent requests from the probation office unless otherwise ordered
         by the district judge.

6.   □   Other



                                             Royce C. Lamberth
                                         United States District Judge


                                                      Date
